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EXHIBIT A

mWBEMSOM-WEBSTEKWALB&-GLISSQN,-and-for-her~Coni-plaint-against-t-he-above.name

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IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT

JERSEY cOUNTY, rLLn\_roIs d ,_ _
MARGARET LoRsBACH, ) § l "
P1 ' aff § 6' 40@
am ,
v. § Case No: qz%§£;:g;?f`€e §
) l "L.~\Q Q,';;g,r/$/(/ 05 0
PIONEER RESTAURANTS LLC;~E_ ) /»§<¢,<<;9
ToNY TERRY, and HARDEE’s ) "~°<»i*<a$`/.V€
REsrAURAN'rs LLC ) 0°%, '9
) "< '
Defendants. )

COMPLA[NT

COMES NOW` Plaintiff, MARGARET LORSBACH, by and through her attorneys of reeord,

 

Defendants, states the following ba"sed on information and belief

COUNT I- PREM]SES LIABILITY
DEFENDANT PIONEER RESTAURANTS LLC.

l. At all times material hereto, Plaintiff Margaret Lorsbach (hereafter “Plaintiff”)
was and is a resident and citizen of Jersey County, Illinois.

2. At all times material hereto, Defendant Pioneer Restaurants LLC was and is a
corporation and at all times mentioned herein does business in the County of Jersey and State of
Illinois, and was doing business as a Hardee’s fast food restaurant at 528' South State Street,
Jerseyville, Illinois.

3. At all times material hereto, Defendant Tony Ten'y was and is a resident and
citizen of the State of Illinois, and was and is an employee of Pioneer Restaurants LLC, and the

manager of the Hardee’s Restaurant located at 528 South State Street, Jerseyville, Illinois.

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4. At all times material hereto, Defendant Hardee’s Restaurants LLC was and is a
corporation and at all times mentioned herein does business in the County of Iersey and State of, _

. ' 141
Illinois, and was doing business as"a Hardee’s fast food restaurant at 528 South State_Street,

\_»

v'n_ .

Jerseyville, Illinois.

5. At all times mentioned herein, Defendants owned the property and the Hardee’s h '
'Restaurant located at 528 South State Street, Ierseyville, Illinois.

6. At all times mentioned herein, Defendants managed and maintained the Hardee’s
Restaurant located at 528 South State Street, Jerseyville, Illinois. '

7. On November ll, 2015,~l’laintiff Was an invitee and/or licensee, expressly and

implicitly invited onto the premises, including the parking lot, walkways, and entrance areas to

 

 

said restaurant

8. At said'time and place, Plaintift` was walking from her vehicle to the south
entrance of said restaurant, and stepping from the parking lot and drive-thru lane toward the
sidewalk and doorway of said area.__

9. That at some point prior to November 11, 2015, the parking lot and drive-thru
lane area was tlush and level to the sidewalk adjacent to the entrance of said restaurant

lO. That at some point prior to the incident, the drive-thru lane and parking lot asphalt
was cut out and new concrete was poured, resulting in a two or more inch difference in height
between the parking lot and the sidewalk adjacent to the south entrance.

ll. That at all times mentioned herein, the parking lot and drive-thru lane were the

same color as the sidewalk adjacent to the south entrance

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12. That said difference in height between the parking lot/drive-thru lane and the
sidewalk created a tripping hazard and an unreasonable risk of harm for those lawfully invited-on
said property, including Plaintiff.

13. That at said time and place, Defendants, both individually and/or by and through
its employees, agents and/or servants knew or in the exercise of ordinary care should have known
of both said condition and the risk. n '

l4. Prior to, and at said time, Defendants both individually and/or acting by and
through its employees, agents, and/or servants, could reasonably expect people on the premises,
including Plaintiff, would not discover the dangerous condition and/or would not otherwise

` protect themselves against such danger.

 

 

15. At all times mentioned herein, the condition at issue was in no way open and obvious
to Plaintiff.
16 . At all times mentioned herein, Plaintiff did not misuse the premises in any way.
l7. Defendants both individually and/or acting by and through its employees, agents,
and/or servants, failed to repair or otherwise remedy the difference in height of said condition in
the following ways:
a) Failed to inspect said premises;
b) Failed to properly inspect said premises;
c) Failed to warn patrons of the diH`erence in height between the parking lot/
drive-thru lane and the sidewalk/entrance;
d) Failed to properly warn patrons of the difference in height between the

parking lot/drive-thru lane and the sidewalk/ entrance;

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e) Failed to extend its handrails to the area where the parking lot/ drive-thru
lane and the sidewalk/entrance were level; -

t)` Failed to provide contrast in surface colors for the area in question;

g) Failed to repair and/or remedy the condition at issue; and/or

h) Failed to timely repair and/or remedy the condition at issue.

18. As a direct and proximate cause of one or more of the foregoing negligent act(s)
and/or omission(s) committed by the Defendants individually and/or acting by and through its-
employees, agents, and/or servants, that while stepping from the parking lot/drive thru lane to the
sidewalk leading to the entrance, Plaintiff` tripped and fell because of said difference in height of

the Walkway, thereby sustaining bodily mjuries, including, but not limited to, severe injuries to

 

 

- her leg that resulted m amputation of her leg; past, present and future pain and suffering, both of
the body and rnind; loss of normal 'life; disability; disfigurement; lost wages; past, present and
future reasonable and necessary medical expenses in endeavoring to cure herself of her bodily
injuries; and other damages available at law.

WI~IEREFORE, Plaintiif MARGARET LORSBACH prays for judgment against
Defendant PIONEER RESTAURANTS LLC for an equitable sum in excess of Fifty Thousand

Dollars ($50,000.00) together with her costs of this action.

COUNT H-PREMISES LIAB[LITY
DMANM

l-18. Plaintiff hereby incorporates and realleges paragraphs l- 18 of Count I as

paragraphs l- 18 of this Count.

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WHEREFORE, Plaintift` MARGARET LORSBACH prays for judgment against
Defendant TONY TERRY for an equitable sum in excess of Fiiiy Thousand Dollars

($50,000.00) together with her costs of this action

COUNT III-PREMISES LIABILITY
DEFENDANT HARDEE’S RESTAURANTS LLC

 

1-18. Plaintiff hereby incorporates and realleges paragraphs 1-20 of Count I as
paragraphs l-18 of this Count I.

WI~[EREFORE, PlaintiH` litiARGARET LORSBACH prays for judgment against
Defendant HARDEE’S RESTAURANTS LLC for an equitable sum in excess of Fifty Thousand

Dollars ($50,000.00) together with his costs of this action

 

COUNT IV. NEGLIGENCE
DEFENDANT PIONEER RESTAURANTS LLC

 

l-l6. Plaintiff hereby incorporates and realleges paragraphs l-lo of Count I as
paragraphs l-l6 of this Count. q

17. 'l`hat prior to the incident, Defendants, by and though its agents, employees and
contractors, created the condition and tripping hazard at issue, speciiically the difference in
height of the walkway of the property

18. Prior to, and at said time, Defendants individually and/or acting by and through its
employees, agents, and/or servantsid owed those legally on the premises, including Plaintiff, a

duty of ordinary and reasonable care.

19. Notwithstanding said duty, Defendants both individually and/or acting by and ~, -

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through its employees, agents, and/or_ servants, committed one or more of the following negligent

and careless act(s) and/or omission(s), constituting a breach of the aforementioned duty:

a)
b)

C)

d)

f)

s)

h)

Failed to inspect said premises;

Failed to properly inspect said premises;

Failed to warn patrons of the difference in height between the parking lot/
drive-thru lane and the sidewalk/entrance;

Failed to properly warn patrons of the difference in height between the
parking lot/drive-thru lane and the sidewalk/ entrance;

Failed to extend its handrails to the area where the parking lot/ drive-thru
lane and the'ésidewalk/entrance were level;

Failed to provide contrast in surface colors for the area in question;

Failed to repair and/or remedy the condition at issue; and/or

Failed to timely repair and/or remedy the condition at issue.

20. As a direct and proximate cause of one or more of the foregoing negligent act(s)

and/or omission(s) committed by the Defendants individually and/or acting by and through its

employees, agents, and/or servants, that while stepping nom the parking lot/drive thru lane to the

sidewalk leading to the entrance, Plaintiff tripped and fell because of said difference in height of

the walkway, thereby sustaining bodily injuries, including, but not limited to, severe injuries to

her leg that resulted in amputation of her leg; past, present and future pain and suffering, both of

the body and mind; loss of normal life; disability; disigurement; lost wages; past, present and

"`*flltrrre reasonable and necessary medical expenses in endeavoring to cure herself.of her bodily

injuries; and other damages available at law.

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WHEREFORE, Plaintiff_ MARGA.RET LORSBACH prays for judgment against
Defendant PIONEER RESTAURANTS LLC for an equitable sum in excess of Fifty Thousand
Dollars ($50,000.00) together with-her costs of this action.

COUNT V- NEGLIGENCE
DEFENDANT TONY TERRY

1-20. Plaintiff hereby mc:;rporates and realleges paragraphs 1-20 of Count IV as
paragraphs 1-20 of this Count.

WHEREFORE, Plaintiff MARGARET LORSBACH prays for judgment against
Defendant TONY TERRY for an equitable sum in excess of Fifty Thousand Dollars

($50,000.00) together with her costs_ of this action.

COUNT VI- NEGLIGENCE
DEFENDANT HARDEE’S RESTAURANTS LLC

 

1-20. Plaintiff hereby incorporates and realleges paragraphs 1-20 of Count IV as

paragraphs 1-20 of this Count.
WHEREFORE, Plaintiff MARGARET LORSBACH prays for judgment against
Defendant HARDEE’S RESTAURANTS LLC for an equitable sum in excess of Fifty Thousand

Dollars ($50,000.00) together with her costs of this action.

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MARGARET LORSBACH, Plaintiff

 

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IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT

JERSEY COUNTY, ILL[NOIS -

MARGARET LORSBACH, )
)
Plaintit`f, )
e. )

v. ) Case No.:
)
PIONEER RESTAURANTS LLC., )
TONY TERRY, and HARDEE’S )
RESTAURANTS LLC )
)
Defendants. )

AFFIDAVIT REGARDING DAMAGES SOUGHT

 

1, MICHAEL P. GLIssoN, attorney for Plainaff, hereby states under oath the renewing

-- -- l -l-.- That-the total- of money damages sought in this case exceeds .Fifty Thousand Dollars

($50,000.00).
2. That this Aftidavit is pursuant to Supreme Court Rule 222(b).

MARGARET LORSBACH, Plaintiff

/

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